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        Kevin P. Weimer                                                           0Ù$à      s/ D. McGoldrick                                                   01/10/2023
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